Case 3:09-cv-00951-JPG-DGW Document 26 Filed 11/24/09 Page 1 of 1 Page ID #121



                                   UNITED STATES DISTRICT COURT
                               FOR THE SOUTHERN DISTRICT OF ILLINOIS

  MARY CASEY, as Administrator of the Estate
  of Phillip Casey, Deceased,

                  Plaintiff,

          v.                                                 Case No. 09-cv-951-JPG

  MARJORIE GUTHRIE, M.D., SOUTHERN
  ILLINOIS HEALTH CARE FOUNDATION,
  INC., doing business as Belleville Family
  Health Center, JULIE WITTNENAUER, M.D.,
  ASHLEY MALCOLM, M.D., DAVID
  DORSEY, M.D., ST. ELIZABETH’S
  HOSPITAL OF THE HOSPITAL SISTERS OF
  ST. FRANCIS, an Illinois Corporation, ROOP
  LAL, M.D., HEIDI DUFF, P.A., and
  CARDIOLOGY CONSULTANTS, LTD.,

                  Defendants.

                                    MEMORANDUM AND ORDER

         This matter comes before the Court on Plaintiff Mary Casey’s Objection (Doc. 22).

 Specifically, Casey objects to the Notice of Removal (Doc. 2) filed by Marjorie Guthrie, M.D. and

 Southern Illinois Health Care Foundation, Inc. (“Southern Illinois”). The Court CONSTRUES

 Casey’s objection as a motion for remand under 28 U.S.C. § 1447(c). See, e.g., Fate v. Buckeye State

 Mut. Ins. Co., 174 F. Supp. 2d 876, 877 (N.D. Ind. 2001); Estate of Coggins v. Wagner Hopkins, Inc.,

 174 F. Supp. 2d 883, 885 (W.D. Wis. 2001). Accordingly, Guthrie and Southern Illinois have up to

 and including December 28, 2009, to file their response. Casey’s reply, if any, shall be filed no later

 than January 8, 2009.

 IT IS SO ORDERED.
 DATED: November 24, 2009
                                                                          s/ J. Phil Gilbert
                                                                          J. PHIL GILBERT
                                                                          DISTRICT JUDGE


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